            Case 1:18-cr-00054-JLT-BAM Document 57 Filed 02/05/20 Page 1 of 2


1    John Meyer
     225629
2
     16024 W. Brian Ave
3    Kerman, CA. 93630
     Attorney for Defendant
4    Tauri Valera

5
                                 IN THE UNITED STATES DISTRICT COURT
6

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8    UNITED STATES OF AMERICA,                          Case No.: 1:18-cr-00054 BAM DAD

9                   Plaintiff,
10                                                      WAIVER OF DEFENDANT’S
     vs.
                                                        PRESENCE; ORDER
11
     TAURI VALERA,
12
                    Defendant
13

14

15          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the defendant, TAURI

16   VALERA, hereby waives the right to be present in person in open court upon the hearing of any
17
     motion or other proceeding in this case, including, but not limited to, when the case is set for
18
     trial, when a continuance is ordered, and when any other action is taken by the court before or
19

20
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.

21   Defendant hereby requests the Court to proceed during every absence of her which

22   the Court may permit pursuant to this waiver; agrees that her interests will be deemed
23
     represented at all times by the presence of her attorney, the same as if defendant were personally
24

25
     WAIVER OF DEFENDANT’S
     PRESENCE; ORDER - 1
              Case 1:18-cr-00054-JLT-BAM Document 57 Filed 02/05/20 Page 2 of 2


1    present; and further agrees to be present in court ready for trial any day and hour the Court may
2
     fix in her absence.
3
              Defendant further acknowledges that she has been informed of her rights under Title 18
4
     U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes her attorney to set times and delays
5

6    under that Act without defendant being present.

7

8

9
     Dated:__1/28/2020___________                         _/s/Tauri Valera_______________
10
                                                          Tauri Valera
11
                            I agree with and consent to my client’s waiver of appearance.
12

13   Dated:__1/28/2020___________                         /s/John Meyer________________

14                                                        Attorney for Ashley Sanchez

15

16
                                                  ORDER
17

18
              IT IS SO ORDERED.
19

20   Dated:    February 5, 2020                                    /s/ Barbara A. McAuliffe
                                                          UNITED STATES MAGISTRATE JUDGE
21

22

23

24

25
     WAIVER OF DEFENDANT’S
     PRESENCE; ORDER - 2
